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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                     Charlottesville Division

  BRENNAN M. GILMORE,                       :
                                            :                 Case No. 3:18-cv-00017
                        Plaintiff,
                                            :
                                            :
  v.
                                            :
                                            :
  ALEXANDER E. JONES, et al.,
                                            :
                        Defendants          :
                                            :
                                            :
  In re subpoena to                         :
  WVIR-TV, WSLS-TV, WRC-TV and              :
  Journalists Ashley Curtis and Julie Carey :


      OBJECTIONS AND MOTION TO QUASH SUBPOENAS TO WVIR-TV, WSLS-TV
          WRC-TV AND JOURNALISTS ASHLEY CURTIS AND JULIE CAREY

          COME NOW, by special appearance, non-parties Gray Media Group, Inc., d/b/a WVIR-

  TV (“WVIR”);1 Graham Media Group, Virginia, LLC d/b/a WSLS-TV (“WSLS”);2 NBC

  Subsidiary (WRC-TV) LLC d/b/a WRC-TV (“WRC”),3 WSLS journalist Ashley Curtis, and

  WRC journalist Julie Carey (collectively, the “Non-Party Journalists”), by counsel, and

  respectfully move this Court pursuant to Fed. R. Civ. P. 45 for entry of an Order quashing the

  subpoenas issued to them in this matter.

                                               BACKGROUND

          The Non-Party Journalists are individual journalists and three television stations that

  reported on the deadly “Unite the Right” rally that took place in Charlottesville, Virginia, in

  2017. At that rally, a white supremacist named James Fields drove his car into a crowd of anti-

  1
    Gray Media Group, Inc., not Gray Television, Inc. (the entity named in the subpoena), owns and operates WVIR.
  2
    Graham Media Group, Virginia, LLC, not Graham Media Group, Inc. (the entity named in the subpoena), owns
  and operates WSLS.
  3
    NBC Subsidiary (WRC-TV) LLC, not NBC Telemundo License, LLC (the entity named in the subpoena), owns
  and operates WRC.


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  racism protestors. He killed a woman named Heather Heyer and injured many others. Convicted

  of murder and also on federal hate crime charges, Fields was sentenced to life in prison by both

  state and federal courts.

         This lawsuit arises from those events. Specifically, Plaintiff Brennan Gilmore alleges

  that, after he witnessed Fields’s attack and posted a video of it on Twitter, right-wing conspiracy

  theorists, including Defendants, began targeting and defaming him, including by falsely accusing

  him of being “part of some ‘Deep State’ conspiracy” and “participat[ing] in the orchestration of”

  Fields’s attack. (ECF Doc. 29, ¶ 214.)

         One of the Defendants is James Hoft, who has subpoenaed the Non-Party Journalists.

  Gilmore alleges that “Hoft wrote and published an article containing false and defamatory

  statements about [him] entitled ‘Random Man at Protests Interviewed by MSNBC, NY Times Is

  Deep State Shill Linked to George Soros.’” (Id. ¶¶ 20, 62-82.) Gilmore alleges that Hoft’s article

  implies the following false assertions of fact:

         1. That the State Department organized the Charlottesville rioting and/or attack;
         2. That Gilmore participated in the State Department’s planning of the Charlottesville
            riots and/or attack;
         3. That the State Department conspired to conceal these facts by removing information
            about Gilmore from a number of internet sources;
         4. That media outlets were involved in the conspiracy because they knew Gilmore was a
            State Department employee;
         5. That the media characterized Gilmore as a casual observer because they were
            working in concert with Gilmore, the State Department, and other government
            agencies to cover up their involvement in the conspiracy; and
         6. That all of these conspirators worked together to deceive the public about what
            happened in Charlottesville that day.

  (Id. ¶ 67.) Count I asserts a claim of defamation against all Defendants, and Count VI asserts a

  claim of defamation against Hoft. (Id. ¶¶ 204-15, 233-40.)

         Despite the privilege that protects journalists from compelled testimony except in

  extreme circumstances not present here, Hoft, by counsel, served subpoenas on the Non-Party



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  Journalists on or about May 21, 2021 (attached to the Declaration of Leita Walker (“Walker

  Decl.”) as Exhibits A-E). He later served a broader, amended subpoena on WVIR (attached to

  Walker Decl. as Exhibit F). The subpoenas are extremely overbroad and unduly burdensome.

  They seek virtually every court filing, police report, email, press release, video, photo, or other

  document that the Non-Party Journalists received from anyone—government sources, witnesses

  to the events, social media, fellow journalists, wire services, etc.—in connection with their

  coverage of the Unite the Right Rally, the death of Heyer, and the trials of Fields, which were all

  major news events, covered over the course of many months, indeed, years.

          The undersigned counsel for the Non-Party Journalists first spoke to counsel for Hoft on

  May 27, 2021 and notified him that she represented WVIR and WSLS. Walker Decl. ¶ 9. In

  follow up email correspondence on June 1 (attached to Walker Decl. as Exhibit G), she notified

  him that she also represented WRC and the two individual journalists he had subpoenaed and

  asked if he planned to serve amended subpoenas to anyone other than WVIR. Counsel for Hoft

  did not respond to that inquiry. Id. ¶ 13.

          In her conversation with Hoft’s counsel on May 27, the undersigned attempted to

  ascertain whether the information Hoft seeks from the Non-Party Journalists is in any way

  relevant to his case, to explain to his counsel the privilege against compelled disclosure available

  to the Non-Party Journalists, to persuade him to withdraw the subpoenas, and (when he refused

  to withdraw) to obtain an extension of the deadline to file this motion to quash.4 Id. ¶ 10. During

  this phone call, opposing counsel represented that, notwithstanding the extremely broad scope of

  the subpoenas, Hoft would be satisfied to receive information showing how the Non-Party

  Journalists came into possession of certain aerial video footage captured by a law enforcement


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   On behalf of his client, Hoft’s counsel agreed that the Non-Party Journalists could have up to and including June
  14 to file this Motion.


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  helicopter on the day of Heyer’s murder. See Id. ¶ 11. Counsel alleged that “someone broke the

  law” in providing this footage to the Non-Party Journalists and that Hoft needs to know the

  identity of their source to defend against Gilmore’s claims. Id.

           Hoft has referenced this helicopter footage and his belief that it was leaked to the press in

  connection with opposing other motions to quash subpoenas he has served. For example, in his

  opposition to the Virginia State Police and Virginia Fusion Center’s Motion to Quash (ECF Doc.

  313), Hoft claims that helicopter footage “was leaked to the press immediately after James Fields

  was sentenced” and that it is “unclear who leaked the footage” but that, at a minimum, the State

  Police “acquiesced” to the leak.” (ECF Doc. 313 at 17.) In making these claims, Hoft cites to

  WRC and WSLS news coverage that included the aerial footage. (ECF Doc. 313 at 17 n.22.)

  This is the same news coverage he references in the subpoenas to WRC and WSLS and their

  journalists. See Walker Decl. Ex. B-E.5

           However, it is clear from the face of those news reports—published after Fields’s

  sentencing by both federal and state courts—that the footage was publicly available in that it was

  “key evidence prosecutors used to argue for a life sentence.” See WRC news report at

  https://archive.ph/BCd74 (published July 17, 2019); see also WSLS news report at

  https://archive.ph/yCITC#selection-1543.18-1543.114 (published July 17, 2019) (stating footage

  was “newly released”). In fact, the Exhibit and Witness List in the federal case against Fields

  lists “Video Aerial surveillance” as an exhibit, and the public docket entry for that list, filed on

  July 2, 2019—more than two weeks before the news reports aired—states that “Video and Audio



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   Hoft does not bother to cite any news report by WVIR that includes the helicopter footage. After a reasonable
  search, WVIR does not believe it ever aired the footage shown in the WRC and WSLS news reports, and it has not
  been able to locate a copy of that footage in its possession. WVIR did air aerial footage of the Governor’s motorcade
  when it reported in May 2002 on the findings of the National Transportation Safety Board (“NTSB”) regarding the
  helicopter’s crash. See https://www.nbc29.com/2020/05/14/report-reveals-new-details-investigation-into-deadly-
  vsp-helicopter-crash/. That footage was presumably part of NTSB’s report.


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  Exhibits available on discs provided to and available in the clerk’s office.” See ECF Doc. 59,

  United States v. Fields, Case No. 3:18-cr-00011-MFU (W.D. Va.). On June 4, 2021, the

  undersigned spoke to Christopher Robert Kavanaugh, one of the federal attorneys who

  prosecuted Fields, and confirmed that the referenced “Video Aerial surveillance” is indeed the

  helicopter footage and that it was publicly filed not only in the federal hate crimes prosecution

  but also in the state murder prosecution. Walker Decl. ¶ 14. In other words, there is no reason for

  Hoft and his attorney to believe this footage was “leaked”—it is publicly available from both

  state and federal courts and has been since before publication of the news reports Hoft

  references.

             Finally, information responsive to the subpoenas—including not only documents

  showing how the Non-Party Journalists obtained the helicopter footage but also many other

  documents responsive to requests that Hoft has now withdrawn—are available from sources

  other than the Non-Party Journalists.6 Hoft admits as much by having served extremely broad

  subpoenas on a wide range of law enforcement individuals and entities (many of whom have also

  moved to quash and have a hearing set on their motions for June 14, 2021). Indeed, in his

  opposition to the City of Charlottesville and Alfred Thomas’s Motion to Quash (ECF Doc. 301),

  Hoft explicitly admits that much (perhaps all) of what he requests from the Non-Party Journalists

  is in the hands of the City of Charlottesville as well as Hunton & Williams, LLP. (ECF Doc. 301

  at 3-4.)

             On information and belief, Hoft has not yet bothered to depose the Plaintiff, yet he has

  issued dozens of subpoenas to third parties to this case—perhaps as many as 60. Walker Decl. ¶

  12. The Non-Party Journalists cannot say for sure because his counsel refused to confirm or

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   Hoft also seeks paystub information from the individual journalists, which admittedly is not available from
  government sources. Such information, however, bears absolutely no relation to his claims and defenses in this case
  and his request for it should be dismissed out of hand.


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  provide copies of these subpoenas. Id. Regardless of the exact number, he is clearly engaged in a

  massive and massively inappropriate fishing expedition that, in the case of the Non-Party

  Journalists, seeks information they obtained in the course of their newsgathering activities.

  Hoft’s subpoenas and his refusal to withdraw them ignore well-established law that protects

  members of the media from being compelled to testify and from being compelled to disclose

  unpublished newsgathering materials (including but not limited to the identities of their sources).

  Pursuant to Virginia state law and the First Amendment of the United States Constitution, the

  subpoenas should be quashed and a protective order entered.

                                              ARGUMENT

          Courts in Virginia recognize a qualified journalist’s privilege rooted in the First

  Amendment that, unless overcome, protects reporters from being compelled to disclose

  information obtained in the course of their newsgathering. See, e.g., LaRouche v. NBC, 780 F.2d

  1134, 1139 (4th Cir. 1986); Brown v. Commonwealth, 214 Va. 755, 757 (1974). The privilege

  applies in federal court where jurisdiction is based on diversity, as it is here. See, e.g., Hatfill v.

  N.Y. Times, 242 F.R.D. 353, 356 (E.D. Va. 2006) (“the notes are not discoverable because they

  are protected by the qualified reporter's privilege under Virginia state law”).

          In LaRouche, the court explained that the privilege yields only if the subpoenaing party

  can show that: (1) the information sought is relevant, (2) it is not available from alternative

  sources, and (3) there is a compelling interest in it. LaRouche, 780 F.2d at 1139; see also Hatfill,

  242 F.R.D. at 356 (“the Virginia courts have applied the three-part balancing test adopted by the

  Fourth Circuit in LaRouche”).

          Following LaRouche and Brown, courts in Virginia have made clear that the privilege

  applies to any “unpublished” information, whether or not confidential sources are involved. See




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  Hatfill, 242 F.R.D. at 356 (quashing subpoena for non-confidential information in a Virginia

  defamation case); see also, e.g., Johnson v. Bass, 69 Va. Cir. 97, 97-98 (Orange Cnty. 2005)

  (noting that “courts agree that there exists an important constitutional privilege that protects the

  private files of journalists under the provisions of the First Amendment to the United States

  Constitution and Article I, Section 12, of the Virginia Constitution” and quashing subpoena to

  reporter for non-confidential newsgathering information); Order, In re: Subpoena Issued to Scott

  Daugherty, Nos. CR 17000428-01 – CR 17000447-01 (City of Portsmouth Cir. Ct. July 5, 2018)

  (quashing subpoena for non-confidential information where there was “no showing” that reporter

  “possesses highly relevant material and information unavailable from another source”) (copy

  attached to Walker Decl. as Exhibit H); Transcript, HJN Enters., LLC v. Mehlman-Orozco, No.

  CL16000876 (Pr. Wm. Cnty. Cir. Ct. Aug. 10, 2018), at 23:3-24:2 (quashing subpoena to

  reporter pursuant to privilege) (copy of relevant portions of transcript attached to Walker Decl.

  as Exhibit I); Commonwealth v. Townley, 2018 Va. Cir. LEXIS 39, at *2-5 (Roanoke City Cir.

  Ct. Jan. 31, 2018) (same).

         The purpose of the privilege is to protect journalists from having to testify and turn over

  their work product just because it may possibly be helpful to a civil or criminal litigant. As one

  court has explained, subpoenas to journalists cause a “chilling effect” on newsgathering because

  of:

                 the threat of administrative and judicial intrusion into the
                 newsgathering and editorial process; the disadvantage of a
                 journalist appearing to be an investigative arm of the judicial
                 system or a research tool of government or of a private party; the
                 disincentive to compile and preserve non-broadcast material; and
                 the burden on journalists’ time and resources in responding to
                 subpoenas.




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  Mark v. Shoen, 48 F.3d 412, 416 (9th Cir. 1995) (citation omitted) (quashing subpoena for non-

  confidential information); see also Livingston v. Kehagias, 2018 U.S. Dist. LEXIS 39545, at *6-

  7 (E.D.N.C. Mar. 12, 2018) (quashing subpoena for non-confidential information because need

  for information was “not sufficiently compelling to warrant intrusion into the rights of the free

  press”); Goldberg v. Amgen, Inc., 123 F. Supp. 3d 9, 16 (D.D.C. 2015) (privilege for non-

  confidential information was designed to prevent “wholesale exposure of press files to litigant

  scrutiny” and the “burden [to] the press [of the] heavy costs of subpoena compliance” (citation

  omitted)); United States v. Thompson, 2015 U.S. Dist. LEXIS 47110, at *3 (S.D. Fla. Apr. 10,

  2015) (privilege, which “bars a litigant from compelling production or testimony in all but the

  most exceptional cases[,] . . . is derived from the chilling effect that ‘forcing journalists to testify

  in judicial proceedings about the substance of their news reports’ would have on an independent

  and free press’” (citations omitted)).

          Applying the LaRouche test here, it is clear that Hoft cannot overcome the privilege

  because (1) the particular information sought from the Non-Party Journalists is not sufficiently

  “relevant,” nor does it serve a sufficiently “compelling interest,” to defeat the privilege and (2)

  numerous alternative sources are available for information relevant to Hoft’s defense of

  Gilmore’s defamation claim. See, e.g., Goldberg, 123 F. Supp. 3d at 15-16 (“in the ordinary case

  the civil litigant’s interest in disclosure should yield to the journalist’s privilege,” which should

  “prevail in all but the most exceptional cases” (quoting Zerilli v. Smith, 656 F.2d 705, 712 (D.C.

  Cir. 1981)).

          1.      The information sought from the Non-Party Journalists is not sufficiently
                  relevant or compelling to overcome the privilege.

          As noted, Hoft has issued subpoenas in this case to a wide range of government entities

  and their employees, and motions to quash many of those subpoenas are pending before the



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  Court. In his responses to those motions, Hoft repeatedly takes the position that he needs a wide

  range of documents from the government to prove the statements he made about Gilmore—that

  Gilmore was part of a vast government-media conspiracy that perpetrated the violence in

  Charlottesville on August 12, 2017—were true and thus not actionable.7

           The Non-Party Journalists expect Hoft to similarly respond to this Motion. That is, based

  on his counsel’s representations about what Hoft seeks from them—how they got the helicopter

  footage—they expect him to argue that the Non-Party Journalists’ testimony and newsgathering

  materials will reveal some government leak and that this leak will help Hoft establish that the

  media, the government and Gilmore were all “work[ing] together to deceive the public about

  what happened in Charlottesville that day.” (ECF Doc. 29, ¶ 67.)

           The notion that every leak to the media is part of some “conspiracy” of the magnitude

  Hoft imagines is of course ridiculous. But even if the Court takes Hoft’s theory at face value, his

  rationale for subpoenaing the Non-Party Journalists ignores the indisputable fact that the

  helicopter footage was a judicial record made available to the general public prior to the

  publication of the news reports his subpoenas reference. The information he seeks is thus simply

  not relevant to his claims and defenses in this lawsuit. There is no reason that Hoft needs, for

  example, the Non-Party Journalists to provide a copy of the aerial footage available to him

  through public sources. Likewise, there is no reason Hoft needs the name of the person at the

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    See Hoft Opposition to Motion to Quash of Commonwealth Attorney for City of Charlottesville (ECF Doc. 300) at
  6 (“If evidence of coordination by public and/or private forces connected to Gilmore to, inter alia, impose a false or
  misleading narrative on the events surrounding UTR, or instigate violence, then not only is Gilmore proven to be
  wrong—possibly even a liar—but 20 year old Fields’ convictions in state and federal court and consecutive life
  sentences—plus four hundred and nine (409) years—were quite plainly influenced by something other than justice.
  If Hoft proves any of this, he wins.”); see also ECF Doc. 301 at 11 (same); ECF Doc. 313 at 7 (“The factual
  allegations in play—i.e., inter alia, whether or not Mr. Gilmore engaged in a public-private conspiracy aimed at
  either instigating violence in Charlottesville, a “cover up,” or misleading the public, are central and material facts to
  Gilmore’s causes of action, and Hoft’s defenses thereto. This would also include whether the conspirators, as alleged
  by Gilmore, including but not limited to Gilmore, members of the media, and political leaders (Alleged
  Conspirators) deliberately mischaracterized the events surrounding the UTR for a sociopolitical agenda.”); Hoft
  Opposition to Declan Hickey Motion to Quash (ECF Doc. 320) at 7 (same).


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   state or federal courthouses who may have provided a copy of it to members of the media or

   email correspondence between members of the media and court staff about how to obtain the

   footage. See, e.g., Mark, 48 F.3d at 417 (“cumulative” evidence insufficiently relevant to

   overcome privilege); New England Teamsters & Trucking Indus. Pension Fund v. N.Y. Times

   Co., 2014 U.S. Dist. LEXIS 55417, at *8 (S.D.N.Y. Apr. 17, 2014) (“The relevancy requirement

   is not met if the information sought in the subpoena is merely duplicative or serving a solely

   cumulative purpose.”). Yet his overbroad, incredibly burdensome, subpoena (even as narrowed

   by his counsel’s representations) asks for all of this.




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          Because the information Hoft seeks is not relevant, he cannot establish a “compelling

   interest” in it, either. Typically, a “compelling interest” may be present when a criminal

   defendant claims that being deprived of the information would impact his Sixth Amendment

   rights or when the journalist from whom information is sought is a party to the litigation. See,

   e.g., Hutira v. Islamic Republic of Iran, 211 F. Supp. 2d 115, 119 (D.D.C. 2002) (“When the

   journalist is a party, and successful assertion of the privilege will effectively shield him from

   liability, the equities weigh somewhat more heavily in favor of disclosure” (citation omitted)); In

   re Multi-Jurisdictional Grand Jury, 64 Va. Cir. 423, 426-27 (Chesterfield Cnty. Cir. Ct. 2004)

   (finding that court could compel journalist to provide information to grand jury about statements

   made by target of murder investigation and suggesting that privilege is more easily overcome in

   criminal context). Neither of those circumstances is present here, nor does there appear to be any

   other reason that Hoft’s desire for information from the Non-Party Journalists is particularly

   “compelling.”

          2.       There are alternative sources.

          Beyond the completely absurd premise underlying the subpoenas to the Non-Party

   Journalists—that the media relied on some governmental “leak” to obtain the helicopter footage

   at issue when that footage was freely available to the press and public alike, in both state and

   federal court—the subpoenas must be quashed because the information they seek is available

   from other sources. This is clear from the face of the subpoenas themselves: they seek disclosure

   of documents related to the events of August 12, 2017 that the Non-Party Journalists received or

   obtained from others. Clearly, this information is directly available from those “others,”

   including all of individuals and entities mentioned in the subpoenas (e.g., Office of the

   Commonwealth Attorney for the City of Charlottesville, Virginia State Police, Virginia Fusion




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   Center, Al Thomas, Maurice Jones, Joseph Platania, Lisa Robertson, Miriam Dickler, and

   Michael Signer). See, e.g., Walker Decl. Ex. F Nos. 5–8. Hoft apparently recognizes this fact,

   because, in addition to serving subpoenas on the Non-Party Journalists, he has separately

   subpoenaed many of these entities and individuals. Under the journalist’s privilege law, he

   cannot obtain information like this from journalists where it is readily available elsewhere.

          Moreover, and as discussed above, the many subpoenas Hoft has issued are apparently

   part and parcel of his decision to try to prove that what he said about Gilmore was true—that

   Gilmore was part of a conspiracy by the State Department, other government agencies, and the

   media to instigate the violence in Charlottesville and then cover up the government’s role in that

   violence. Even taking this far-fetched conspiracy theory seriously, there are many ways to go

   about proving its truth other than by subpoenaing members of the media, including by deposing

   Gilmore himself, which Hoft has not bothered to do. See, e.g., Jimenez v. City of Chi., 733 F.

   Supp. 2d 1268, 1272 (W.D. Wash. 2010) (privilege not overcome where information could be

   obtained from party to the litigation); Shoen v. Shoen, 5 F.3d 1289, 1296-98 (9th Cir. 1993)

   (quashing subpoena to non-party journalist where defamation plaintiff had not deposed

   defendant).

          Beyond Gilmore, public records requests for the correspondence of those government

   officials Hoft suspects of participating in the conspiracy can and should be made, government

   officials can and should be subpoenaed (and motions to quash those subpoenas should be

   resolved), and findings and conclusions of independent investigators such as Timothy Heaphy at

   Hunton & Williams, LLP can and should be studied before the media is approached. Hoft has not

   fully exhausted these or other alternative sources and thus the subpoenas to the Non-Party




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   Journalists should be quashed. See, e.g., Johnson, 69 Va. Cir. at 98 (privilege not overcome

   where information “comparable” to that of reporter is available from alternative sources)

           The journalist’s privilege clearly prevents civil litigants from seeking discovery from

   third-party journalists such as the Non-Party Journalists except in “exceptional cases” where the

   journalist is the only person who has evidence necessary to a subpoenaing party’s claim. See,

   e.g., Zerilli, 656 F.2d at 712-14 (in “civil cases . . . in which the reporter is not a party[,]” the

   privilege prevails “in all but the most exceptional cases” where the subpoenaing party “has

   exhausted every reasonable alternative source of information”). Here, as noted, there are many

   other (and better) sources of information, yet Hoft has failed to actually investigate what they

   know, choosing instead to burden umpteen third parties, including the Non-Party Journalists,

   with scattershot subpoenas. Hoft’s failure to exhaust alternative sources for the information

   sought by the subpoenas to the Non-Party Journalists dooms at the outset any effort by Hoft to

   overcome the journalist’s privilege. See, e.g., Church of Scientology Int’l v. Daniels, 992 F.2d

   1329, 1335 (4th Cir. 1993) (affirming subpoena properly was quashed where subpoenaing party

   had “made no effort to pursue alternative sources of information”); Goldberg, 123 F. Supp. 3d at

   20 (quashing subpoena for non-confidential information where party failed to subpoena or

   depose “obvious alternative sources”); Hutira, 211 F. Supp. 2d at 122 (quashing subpoena for

   non-confidential information, finding that plaintiff “should (at a minimum) attempt to contact the

   other individuals discussed in the article,” even if doing so presents “considerable difficulty”;

   concluding that the “alternative sources” factor of test “weighs so heavily in favor of quashing

   the subpoena, that [the court] does not need to address the other factors”).




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                                           CONCLUSION

          For the foregoing reasons, the Non-Party Journalists respectfully request that this Court

   enter an appropriate order granting their Motion to Quash and Motion for a Protective Order.


   Dated: June 14, 2021                      Respectfully submitted,
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